                                                                                                     Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 1 of 33




                   Quality Review Board                                                                      Base/Core I&A




                  Part 2-   Product Health, Base/Core l&A

                  Base Instruments and Accessories through Q4 2018

                  Agile Item QRB-2018-Q4-DATA, Archived by ECO # C225481



                  Danny Brock, Mehdi Ebrahimian, Mike Stjern, Ralph Wadensweiler, Aurorae Iran

                  February 8, 2019




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                  INTUITIVE.            CONFIDENTIAL AND PROPRIETARY   -   Intuitive Surgical Inc.




     PLAINTIFFS
      EXHIBIT
      247


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                                                                                                                                                                                                   EXHIBIT
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                  RMA Rate                    —   Instruments
                                                                                                                        Model
                 RMA Rate: Core Instruments                                                                              • da Vinci Si
                   35096                                                                                                 • da Vinci Xi

                                                                                                                         • Overall P.MA Rate
                                                                                                                                                                2018Q4
                   _3. U




                                                                                                                                                     da Vinci S/Si da Vinci X/Xi Grand Total
                   —   _I,lcIt




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                                         2016Q2      201G Q4    2017Q2               2017Q4             2018Q2                  20180.4



                       Key Takeaways                                 Year Qtr


                       •          Quarterly decrease in RMA rate for Xi, increase for Si
                       •          Q4 WIN Goal for Xi/X = 2.00%; Actual = 2.23% (including cancellations)
                       •          2018 CIP Goal = 2.40%




                  INTUITIVE                                                     Note: Green font represents changes since previous QRB                                                         QRB-201 8-Q4-DATA
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                                                                                                         Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 4 of 33




                                                                                                                          Inactivating/Closing Pitch & Grip Cable MCFs:
                       RMA Top Diagnoses by Rate                                                                          See Instrument Reliability Grip and Pitch Cables slide
                                                                                                                                                                              -




                                                   EDF-201 7-0012
                                                   MCF-1 7-066

                                                   Instrument                                                                                           Instrument
                                  Could Not                              Instrument              Instrument                    Instrument                                         Instrument    Instrument    Functional test        Instrument
                                                   Conductor                                                                                           Bipolar Yaw
                                 Reproduce                                Grips -tips            Grip Cables                 Tube Extension                                          Blades     Input Disks            Failed        Pitch Cables
                                                      Wire                                                                                                    Pulley
                                                                                                                                                                                                                                                        1
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                  L209b                                                                                                       ICOMPLETED
                                                                                                   COMPLETED
                                                                                                                              P1R2017-015
                  2.10%                                                 CPIP-14-1 1(SI FBF)     •CAPA137T
                                                                        MCF-14-006 (SI FBF)
                                                                                                                              MCF-17-044(EAC)          See Grip-tips
                                                                                                •MCF-14-100
                                                                        MCF-1 6-054 (XI FBF)                                  MCF-1 6-075(Rot.)                                                                                    (See MCF under
                  L00%
                                                                                                 (Bipolar)                                                                        MCF-1 8-076
                                                                        MCF-1 5-013             •1v1CF-16-037                                                                                                                      trip Cables)
                                                                        (CBD,MBF)                (LND)
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                                                                                                •MCF-15-056                   PIR2O1B-013
                  020%                                                  MCF-1 7-025 (LBG,PK)     (ProGraspl
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                                                                                                              System Model

                                                                                                              U DAVlNCl SI                   U DA VINCI XI
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                      INTUITIVE-                                                               Note: Green font represents changes since previous QRB                                                         QRB-201 8-Q4-DATA
                                                                                                                                                                                                                                                    4




   CNR   Si increase due to cannot verify external event 404 total (+150 from last quarter)(27 more cutting, 32 more grip failure,
         —   —




   15 more non-intuitive, 31 more recognition, 16 more cable damage, 10 more physical damage) and expected condition 84 total
   (+50 from last quarter)(41 new input discs from 26 sites)(28 condensation on suction/irrigators from 4sites)




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                                                                                              Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 5 of 33




                      Accessories RMA rates
                                                   daVinciS/Si           Derived Sys tem Model
                                                                                          I                            da Vinci X/Xi                                         Key Takeaways:
                   0.110%                                                                                                                                                        Si and Xi drape decrease, MCF-18-061
                                 Access.oryType                                                                                                                                  due Q3 2019
                   0.100%
                                  • DRAPES                                                                                                                                   •   Xi Sterile adapter engagement/USM
                                  • TIP COVER/SHEATH                                                                                                                             complaints (non RMA) (escalated
                   0.090%
                                  • CANNULA                                                                                                                                      11/13/18 EDF66990)
                                  • OBTURATOR
                   0.080%                                                                                                                                                    • Xi tip cover increase due to increase in
                                  • SEALS                                                                                                                                      Could Not Reproduce returns
                                  • CABLES                                                                                                                     0.070%
                   0.070%                                                                                                                                                          • Bulk return from one site and
                                                                                                                                                                                       increase in returns with no reported
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              4t   0.060%                                                                                                                                                              issue

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                                            Quarter of RMACreateDate                                           Quarter of RMACreateDate

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                      INTUITIVE                                                     Note: Green font represents changes since previous QRB                                                        QRB-201 8-Q4-DATA
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   Increase in Xi tip cover due to bulk return (24) from Sahlgrenska Universityhospital; 72 of the 96 total were CNR
   For Si Seals, two sites had 6returns each. One was mostly physical damage, the other was due to awhite substance on the
   duckbill. i
             -i JR results were not conclusive but pointed to it being talc or polymide resin




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                                                      Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 6 of 33




                  K ey   Takeaways:   201803                      201804




                  • P1R2018-013 /CAPA 56261
                  • PEEK 90G (green) performs worse than PEEK 450G (purple/brown)
                  • Production switched back to PEEK 450G in September 2018
                  • 450G is effective in addressing RMAs




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                                                                    Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 7 of 33




                  Diagnosis: Instrument Input Disks                     -     Broken (IS4000)


                  Key Takeaways:
                       New material for Xi Input Disks: PEEK (MCF-16-045/ EDF-2017-0015):
                         • Passed Chem. Test
                         • No failure when exposed to Prolystica, Mediclean Forte, and MediKiar rinse aid (25
                           cycles)
                  Status:
                  Is   Expanded project scope to include the following (MCF-18-076, due Q3 2019)
                         • Comprehensive over-molded PEEK 450G qualification (PPQP testing)
                         • Add clamping pulley changes to scope to address cracking observed in the field
                         • Tooling complete at ChemTech




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                  CPIP=14=11 no Bipolar Grip Improvements
                  Key Takeaways:
                  Continued improvement in bent grip and yaw pulley RMAs (EDF-2017-0020 /EDF 1035)
                  Bipolar instrument APL status (All except Precise and Micro): EBE, MBF, CBD, LBG: on APL / PK: APL QI 2019
                              420205               Bent/Bent Severely                                                                                 420205            Bipolar Yaw Pulley              Broken
                                                                                                                                                                                                                                                                               Spike due to decreased usage.
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                  CPIP=14=11 no Bipolar Grip Improvements
                 Key Takeaways:
                 Grips susceptible to breakage     57 for Si FBF, 44 for Xi FBF (EDF-201 7-0020 /EDF 1035)
                                                                                -




                    • 3breaks after hardness spec change
                    • Thermal damage in yaw pulleys continuing to monitor but similar RMA rate to previous design
                                                                                            -




                                         420205         Grips-Tips Broken                                                                                  142-02-
                                                                                                                                                                 05-M               Bipolar Yaw Pulley          -   Thermal Damage
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                                         47O2O5   -    Grips-Tips Broken                                                                                   [47•
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                  Instrument Reliability                                                           -      Grip and Pitch Cables
                  ERB Decision:
                  Close or Inactivate Pitch and Grip sable MqFs Due to Lpw RMA Rate on Remaininq Instruments

                                                                                                                                                                                                                                                                                                               RMA Failure Mode:
                  MCF-15-056 /EDF-201 5-0089)                            -   Large Distal Clevis
                  •        Completed: ProGrasp, Tip Up Fenestrated, Double Fenestrated Grasper + Med Lrg & Lrg Clip Appliers under MCF-1 6-060
                  •        Remaining: Xi Tenaculum, Dual Blade Retractor, Atrial Retractor had minimal cable RMAs in 2018
                  •        Plan to close MCF with completed instruments, 01 2019
                  MCF-16-037 /ED F-2016-0043                         -       Small Distal Clevis
                  •    Completed LND
                  •    Remaining 23 small distal clevis instruments had minimal or zero RMAs in 2018
                  •    Plan to close MCF with completed instrument (LND) IQI 2019
                  MCF-15-116 /ED F-2016-0022                         -       Grasping Retractors
                  S
                           Xi Small Graptor had minimal pitch and grip RMAs in 2018
                  S
                           Plan to inactivate MCF, 01 2019
                                                                                                                        Xl Grip and Pitch Cable RMA Rates (Core Instruments)

                                                                Instrument Grip Cables RMA rate per use                                                                                                       Instrument Pitch Cables RMA rate peruse
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                     Xi Characteristics Contributing to Performance Gap vs. Si

                Architectural ITechnological Contributors:
                • Higher tension
                                                                                                                                       Instrument Grips -ts                            Instrument Conductor Wire                  Instrument Input Disks
                •     Lower compliance, i.e., direct vs. cable drive
                • Higher ROM limit on roll                                                                                                                                                                                      1.34%

                • Unique input disk design vs. Si
                                                                                                                                                                                                       1.20%



                Other contributors:
                                                                                                                                 0.9096
                • Xi changes typically implemented prior to Si, due to project phase-in
                  timelines and priorities




                Gap Closure



                Short term                                                                                                                                              0.09%.
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                      MCFs in place to address key RMAs                                                                         'i5    D'S   'C'    '0%   '''   '''              'Q      '3'C   '9''   '3G     'C'   O''   '3
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                Long Term                                                                                                                                                  •   DA VINCI Si                    •04 VINCi Xi
                In    Evaluate long term changes quarterly: e.g. major design changes


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  X CharactedsUcs Contributing to Performance Gap vs. S                                                                                                                                                                                                                    Further Expbnafion

Architectural ITech;iokçJca Contributors:

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Other contributors MR

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                                          bpC:kr C.Orc:J).Or Yflr?                                                                                                                                .& vC;S PEIEi'< $OC c:trs                                                                      :". j1d%•%• Cs'•. •:;'
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                                                                         Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 13 of 33




                  Xi & Si Core Instrument RMA Rates over 2year period


                 Xi Core Instrument RMA rate is trending downward; while Si RMA rate remains fiat



                                                           RMA Rate Combined System Model                                                                                       CornbinedSysternModel
                                                                                                                                                                                • da Vinci S/SE
                                                                                                                                                                                • da Vinci


                                                           3..059t'                            2.659b

                                                                         222%                                                                  2..359t    2..329'b




                                                                                                                                                                       L94%


                                            L50%                                                                                                                       1.43%
                                                                                               1.36%                                                      L339t
                                                                                                                                               1..31%
                                                   1.00%



                                                                0.00%

                               2017 Q1    2017 Q2           2017 Q3     2017 Q4             2018 Qi                2018 Q2                 2018 Q3       2018 Q4     2019 Q1

                                                                                      Year /Quarter




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                  INTUITIVE                                                                                                                                               QRB-2018-Q4-DATA        13




Highly Confidential-AEO                                                                                                                                                                                I
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                       Xi Core Instruments RMA breakdown for last 12 months

                    Recent Xi Instrument RMA breakdown:



                              Instrument Ideritificatica board
                                                                          Could Not Reproduce                                                                                RMA Pareto
                                         1.32%
                              Instrument Min Tube                                1&14%
                                                                                                                                                                              201.8                                                       2019
                                    4. 2:L%
               Instrument BipoIarYai' PuIl€y
                                                                                                                                                                                                        N
                          422%
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                     Instrument 3I&IES                                                                                            1500
                           5.74%



               Function•I test Fa[kd
                      5.98%
                                                                          Instrument Tube Ektension
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              Instrument Input Disks
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                     lnstturnent Grip Cables
                              fl.0                                                                                                                               Iff
                                                                                          Instrument Conductor Wire
                                                                                                     1.6. 13%•
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                                             AdrniristrEtiv                                                                                                             '0

                                                 11.76%          Instrument Grips -tips
                                                                        11.59%




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                      INTUITIVE                                                                                                                                                                  QRB-2018-Q4-DATA                    14




Highly Confidential-AEO                                                                                                                                                                                                                       I
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                     Ongohig X Core Instrument Rel iability I
                                                            mprovement projects

                Active MCF Projects;
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                     MCF16OY                                                                     %ap            MN                                       Grip CabL                                          AI
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                     MCF17O55                                                                                   MM TO Up Fenestrated Grasper
                                              (C:o.                                                                                                      o                          di3 cibN.                                                      TiprOViC:fltS)




                Active Invesfigations (pre -MCF),C,


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Highly Confidential-AEO                                                                                                                                                                                                                                                                                                                                           I
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                   Factory NC Rates
                          6.00%




                          5.00%




                          4.00%


                                                                                                                                                                                                  —4-5mm Si

                      a,                                                                                                                                                                          -.4-55 Si
                      • 3.00%
                                                                                                                                                                                                  —j-8mm Si

                                                                                                                                                                                                  —J-8mni Xi

                                                                                                                                                                                                  --
                                                                                                                                                                                                   A-S/1 Si
                          2.00%
                                                                                                                                                                                                  —I—SS Xi




                          1.00%   -




                          0.00%                             I            I                                                         I                   1            I            I            I


                                          032016   042016       012017       022017         032017               042017                012018              022018       032018       042018
                                                                                                    Quarter Year
                    Key Takeaway
                    • Stable quarter with negligible changes in NC rates as GLMS NCs are not created
                    • Note minor upticks are in part fluctuations, influenced by low volume products
                                      -




                    • No new correlations with field failure identified

                      a
                   INTUITIVE                                                                                                                                                           QRB-201 8-Q4-DATA
                                                                                                                                                                                                                16




   Q4!1 7Xi 55 spike was due to MX line validation
   GLMS Discrepancies are being addressed thru DNs. NCs will now only be created for damaged labels, etc. They were previously
   made for incorrect values entered or excess prints.
   8mmSi & 8mmXi: GLMS discrepancies and Xi/Si MCS main tube 90G PEEK bending
   S/I Si: Increase in damaged boxes and FQI excess lubricant inside tube
   Note Upticks are in part fluctuations, influenced by low volume products
        -




Highly Confidential-AEO                                                                                                                                                                                        I
                                                                                                                                                                                                               ntuitive-00967525
                                                              Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 17 of 33




                  Factory NC Rates for Xi Suction Irrigator
                              5.00%




                              4.00%




                              3.00%




                                                                                                                                                                    —4—S/I Xi Rate

                              2.00%                                                                                                                                  --e—Target




                              1.00%     S




                              0.00%            I                             I                            I                                      I



                                      022017       032017   042017                   012018                       022018                032018       042018

                   Key Takeaway:                                                   Quarter Year


                   • Q4 2018— continues to decrease due to increase in production in MX
                   • Final Manufacturing Review (FMR) date pushed out (Q2 2019 pending CAFA 31739 closure).                         -




                   • CAFA 31739 /MCF- 18-055 /F1R2018-008 initiated for cuts on suction seal (Q2-18)


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                  INTUITIVE                                                                                                                                   QRB-2018-Q4-DATA
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Highly Confidential-AEO                                                                                                                                                              I
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                        SP MA RMAs
                                                 Instruments                                                                                         Accessories
                            SP RMA Trend                                                                              SR RMA Trend


                                                                                          2018 04                                                                                    2018 Q4
                               cia Vinci SF'    RMAs                                                   5                   da Vinci SP #1 RMAs                                               7
                                                Procedures                                         228                                           Procedures                               228
                                               RMA Rate                                       2.19%                                            RMA Rate                                3.07%




                                                             Broken Grip Tips (mishandling)
                                                                                                                                                                   Entry Guide ultrasonic welder, a potential
               Wrist Drive Cable pulled out of
                                                                                                                   EDF 70046: Loose magnet washer                  contributor, repaired to prevent component
              crimp team is working on afix
                                                                                                                                                                   binding (NC 4028052, EE 5048620, & MPI
                    -




                                                                                                                                                                   clarification ECO C217942


                                                                                                               Key takeaways
                   Non RMA- Field Issues                                                                       • SF System is new and procedure volumes low
                     F1R2018-019: Drape Tears                                                                  • Continue to monitor RMAs
                           a
                        INTUITIVE                                                                                                                                                     QRB-2018-Q4-DATA          is




   Entry Guide ultrasonic welder, apotential contributor, repaired to prevent component binding (NC 4028052, 9/28/18, EE
   5048620, 10-1 -18 & M PT clarification ECO C21 7942, 11/21/18)




Highly Confidential-AEO                                                                                                                                                                                              I
                                                                                                                                                                                                                     ntuitive-00967527
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                  SP1098 Instruments NCR Rates
                                                                NCR Rate trend by quarter
                              550                                                                                                              12.00%



                              540
                                                533     9.54%
                                                                                                                                               10.00%
                              530



                              520
                                                                                                                                       8.08%   8.00%

                              510
                                                                                                                                 502

                              500                                                                                                              6.00%



                              490

                                                                                                                                               4.00%
                              480



                              470
                                                                                                                                               2.00%

                              450



                              450                                                                                                              0.00%
                                              Q3 2018                                                                         Q42018


                    Key Takeaway:                                  Build Qty     —S—NCR rate         —S—Target


                    • SF1098 instruments FFQ completed in June 2018. AFL September 2018
                    • High NCR rate given a new line. Manufacturing improvements such as replacing EFT parts and
                      increasing FMC frequency, improving manufacturing spec limits for tensioning to address slack
                      issues, resolving component level issues at supplier, technician training to improve NCR rate.
                    • Final Manufacturing Review (FMR) in early 2020
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                  INTUITIVE                                                                                                                             QRB-201 8-Q4-DATA
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Summary


  Q4 2018 RMA rate is stable
  Increase in Cou ld Not Rexoduce, especially for SL but wit  hno
  parficular attributable cause
  All other top diagnoses are relatively stable or decreasing
      r'
  Projects  completed or in place to address top issues wfth further
  improvernert expected as rollout conUnues
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Highly Confidential-AEO                                                                                                        Intuitive-00967530
                          Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 22 of 33




Highly Confidential-AEO                                                                         I
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                  MCS Tube Extension Performance                                                                          —         Breaking/Cracking/Damaged Keys
                                                                                                                                                                  Old ver<=13, ULTEMI4, PEEK>15
                                         Old veral5, ULTEM=16, PEEK=18
                                                                                                           Increase due to fewer procs
                                                                                                           lOSifailures in 04
                      IS3000 MCS                                                                                                                 IS4000 MCS                                                                                           Increase due to fewer procs
                                                                                             0.5191                                                                                                                                     O.68%sf'      16 Xi failures in 04
                                                                                                                                    0.4696
                  3
                                                                                                                                                                                                                               0.57%

                                                                                                                                                                                                             0.53% 0.52%
                                                                                                        0.37         0.37%

                                                                                                                                                                                      0.43%


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                                         0.23%            0.23%
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                                                   17°                                                                                                                     0.23%
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                               .21'333           2)r02.      ZD2.7 o:   ZC17C3      2CL7C&      :clsn      2CZ3 32       20.8 '33




                  Key Takeaways:
                  • Ultem overmolded tube extension cracking failure (M CF- 17-044 /EDF-2017-0040, completed)
                  •        Improvements on the key features (MCF-1 6-075 /EDF-201 7-0025, completed):
                  •        PEEK performing well vs. Ultem and older versions in regards to cracking + non-intuitive motion




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                  INTUITIVE                                                                             Note: Green font represents changes since previous QRB                                                                               QRB-201 8-Q4-DATA
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Highly Confidential-AEO                                                                                                                                                                                                                                                      I
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                              Diagnoses by RMA Volume                                                                                                          —         Primary and Secondary Findings
                                              Could Not                           Instrument                          Instrument Grips                         Instrument Grip                      Instrument Tube                   Instrument Bipolar; Instrument Blades                               Instrument Input                      Instrument Pitch
                                              Reproduce                     Conductor Wire                                        -tips                                       Cables                      Extension                          Yaw Pulley                                                               Disks                               Cables

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                                        Ni    NJ   NJ    fl-i   NJ    NJ'   NJ    Ni        NJ    NJ       NJ    NJ   NJ     NJ    NJ      NJ   Ni   NJ        ni        NJ    NJ   N.J   NJ   NJ   NJ    NJ   NJ    NJ    NJ   NJ     NJ    NJ    NJ    fl-i   Ni    NJ   NJ   NJ   NJ   NJ   NJ    NJ   NJ    NJ     Ni   NJ   NJ   NJ        NJ   NJ    NJ   NJ   NJ   NJ




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                              INTUITIVE                                                                                                                                                                                                                                                                                                                          QRB-201 8-Q4-DATA
                                                                                                                                                                                                                                                                                                                                                                                      24




Highly Confidential-AEO                                                                                                                                                                                                                                                                                                                                                              I
                                                                                                                                                                                                                                                                                                                                                                                     ntu itive-00967533
                                                                                                                                          Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 25 of 33




IS3000 MCS Tube Extension Performance

                                                                                                           Old verc15, ULTEM=16, PEEK>=18
                                                                                                                                                                                                                                   9%
                               0.80%



                               0.60%
                                                                                                                                                                           0.56%
                                                                                                                                                              0.49%                                                   0.60%    0.64%
                               0.40%                                                                          0.35%0.
                                                                             0.30%
                                                                                                                                                        0.33%
                               0.20%     0.27%                     0.09%                                                                0.26%
                                                                                                               0.17%          0.17%                                                                             0.00%          0.00%
                               000€      0.09%                                                                                                    0.00%..
                                 800                                                                                                                                                                            82
                                                                                                                                                                                                                                  736
                                 600



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                                                                                                                                                           207
                                                                                                                                        157                                  155
                                 200
                                                                                                                     79        95                                                          102
                                                        26                          35                                                                                                                               37
                                    U         16

                                100K

                                                                                                                                                                                       75,226                         93,366
           Proc edure Court:




                                                                                                                           54,758                                   53,190
                                 50K                             39,650                                    47,32                        59,704         63,26
                                                                                                                                                                                 27,704           18,681
                                         2%%                                   2,016                              860          461       316           9 a,..                                                         6,165     2,366
                                  0K ...................................................................................                              206                      132             100
                                                201603                          201604                          2017 Qi       2017 02   201703            2017 04           2013 02.          2018 02            201803        201304



  Key Takeaways:
  41       Rate increase attributed to lower procedure volume and higher number of returns


       a
INTUITIVE                                                                                                                                                                                                                               QRB-2018-Q4-DATA
                                                                                                                                                                                                                                                           25
                                                                                                       Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 26 of 33




                  IS4000 MCS Tube Extension Performance

                                                                       Old verc13, ULTEM=14, PEEK>=15
                                                                                                                                                                                               9%
                                                0.30%


                                                                                                                                                  0.56%
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                                                                                                 0
                                                0.40%
                                                               0.27%         0. 3OfL                                       0.49%
                                                0.20%
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                                                                                                                                                          75,226                  93,366
                              Procedure Courr




                                                                                              54,758
                                                  90k                     39,650       47.3                                    63,2
                                                              28,883                                                                                    53,190
                                                                                                                                                                         18,681
                                                                     .
                                                                     1 951         2,016 860         461           316          9,6:c            27,704                           6,165 2,366
                                                   OK   •12,B58                                                                206.                132_too                                 S



                                                         201602   202603      201604    2017Q1   201702           201703          2017Q4           202802          2018Q2     2018Q3   2018Q4


                    Key Takeaways:
                    41       PEEK increase due to bending/bulging of the PEEK 90G units


                         a
                  INTUITIVE                                                                                                                                                                          QRB-2018-Q4-DATA
                                                                                                                                                                                                                         26




   RW: Phase 1changes were lumped together under MCF-1 7-044.




Highly Confidential-AEO                                                                                                                                                                                                 I
                                                                                                                                                                                                                        ntuitive-00967535
                                                                                                                    Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 27 of 33




                    Overall Performance (Si FBF)
                     Procedure Count and RMA Number by Specific Instrument Part Number
                     (where: Diagnosis ALL and Diagnosis Detail ALL I
                                                                =   New PartNurnber-Ver 420205-13 (includes alt versions after that))
                                                                                 =                          =



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                                                                                                                                                                                          1.33%



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                                                                                        41,274
                                                                                                                39,024
                      NumOfProcedures




                                                                                                                                                        45,667                            46,501
                                          40K

                                                                                                 30,394


                                          20K                                                    24,810


                                                                                        12,664                  12,743                                   4,874              3.422
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                                                                                                                    Quarter of WorkingDate
                    Key Takeaways:

                                                 New Si FBF design has lower RMA rates overall




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                  INTUITIVE                                                                                                                                                                                         QRB-201 8-Q4-DATA
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Highly Confidential-AEO                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                        ntuitive-00967536
                                                                                                                      Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 28 of 33




                   Overall Performance (Xi FBF)
                    Procedure Count and RMA Number by Specific Instrument Part Number
                    (where: Diagnosis ALL and Diagnosis Detail ALL I
                                                                   New PartNumber-Ver 470205-15 (includes all versions after that))
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                                                                                                                                                                                            53,078
                     r'jurnof Proc edures




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                                              40K                                                  36,657                                                                 34,879
                                                                         28,156                                                     40,838
                                                                                        31,541
                                              20K      23,237
                                                                                                                                                     8,540
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                                                                                                                  Quarter of WorkingDate
                                   Key Takeaways:

                                                       New Xi FBF design has lower RMA rates overall after addressing conductor wire dislodged and broken grips




                           a

                  INTUITIVE                                                                                                                                                                                             QRB-201 8-Q4-DATA
                                                                                                                                                                                                                                             26




Highly Confidential-AEO                                                                                                                                                                                                                     I
                                                                                                                                                                                                                                            ntuitive-00967537
                                                                                                                     Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 29 of 33




                   Overall Performance (Si ProGrasp)
                      Procedure Count and RMA Number by Specific Instrument Part Number
                      (where: Diagnosis ALL and Diagnosis Detail ALL I
                                                                  =  New Part Number-Ver 420093-12 (includes all versions after that))
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                      cc                                                                                                                                0.33%
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                                              60K 60,936              63,257   63,005               54,733                                                                54,407
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                         NumOf Procedures




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                                              20K                                                                  26,617

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                                                                                                                                 14,506                                   4,815            3, 194
                                               OK                                           8,894                                                                                                    2,663
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                                                                                                                    Quarter of WorkingDate

                    Key Takeaways:
                                                     New Si ProGrasp design has lower RMA rate overall


                     a
                  INTUITIVE                                                                                                                                                                                      QRB-201 8-Q4-DATA
                                                                                                                                                                                                                                      29




Highly Confidential-AEO                                                                                                                                                                                                              Intuitive-00967538
                                                                                                                     Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 30 of 33




                   Overall Performance (Xi ProGrasp)
                  Procedure Count and RMA Number by Specific Instrument Part Number
                  (where: Diagnosis ALL and Diagnosis Detail ALL I
                                                                 New PartNumber-Ver 470093-10 (includes all versions after that))
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                                     0.80%


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                   NumOfProcedure5




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                                                                                                          Quarter of WorkingDate

                                     Key Takeaways:
                                     .
                                                       New Xi ProGrasp design has lower RMA rate overall

                                         a
                  INTUITIVE                                                                                                                                                                                      QRB-201 8-Q4-DATA
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Highly Confidential-AEO                                                                                                                                                                                                              Intuitive-00967539
                                                                                                               Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 31 of 33




                     Diagnosis: Could Not Reproduce
                                                                          10/1,/2013      :2/31/2013
                 CNR- PIG Chart
                                                                                               G-D     CNR- Pareto by Customer Reported Symptom Detail
                                                                                                                                                  Symptorn Detail

                                                  4.69%   0.30%                                                                              Other    -    Enter Details       164                   47          4                                     172
                                                                      0.15%                                                            Grip Failure or insufficient        5t41                                      131
                                                                                                                                                Recognition Issue          4                                           156
                                                                                                                                                          Cutting Issue    51                              103
                                                                                                                                              Broken/Loose Cable

                                                                                                                                                 Physical Damage                23        164             41
                                                                                                                                               Erç.agement Issue           I         31
                                                                                                                                                          Cautery Issue               40
                                                                                                                                           No More Info Available                              61              IU
                                                                                                                      Non-Intuitive Motion on Arms/Instruments             I              46
                                                                                                                                                          Stapling Issue        184             31
                                                                                                                                                 Calibration Issue         74 1-1.
                                                                                                                             Physical Damace- No Fragments Fell            2
                                                                                                                                                Inade quate Clamp           14
                                                                                                                                Outof Uses/Expired Prematurely             I ii
                                                                                                                                                      Exposed Blace $4

                                                                                                                                      Cleaninc/S-terilization Issue        I
                                                                                                                                                           Reload Issue
                                                                                                                                                            Tube Defect

                                                                                                                                                                 Arcing    ci
                                                                                                                                Physical Damage   -   Fragments fell    El
                                                                                                                                                           Frayed Cable El
                                                                                                                                                              Corrosion

                                                                                                                                                  Insufficient Seal         13
                                                                                                                                          Malformed StaDle Issue
                 Diagnosis Detail
                                                                                                                                             Packaging-Damaged              8
                 • Canro: Verify EzernI Ever:             • As;x;&eo Procut Return
                                                                                                                                        S±aDlinc Motor Pack Issue
                 • No Repoaec Isste                       •                                                                                                                0          20             40        60      60    103     121         140         150   ISO    203    223   24:
                 • Expecec Condition                      • Coulo no: Reprocuce no parts repl:ec
                                                                               -




                 • Does No: MEtch Complain: Descri:ion                                                                                                                                                                             RIviA Count




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                    INTUITIVE                                                                            Note: Green font represents changes since previous QRB                                                                                              QRB-201 8-Q4-DATA
                                                                                                                                                                                                                                                                                              31




Highly Confidential-AEO                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                             ntu itive-00967540
                                                                                                                                                     Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 32 of 33




                  Diaqnosis: Instrument Conductor Wire                                                                                                                               =    Dislod qed
                     RMA Count and Rate (Normalized by Distinct Procedure Count) for Conductor Wire                                                                                                                            -       Dislodged (2016-YTD; IS2000 System S RM&Count                                 U R11A Rt
                     procedure count not included)

                                                                                                                                                                                         Population-B: Melt Seal (Process-2/                                       Population-4: Melt Seal (Process-2/           Population-5: Melt Seal
                     Population-1: Heat Shrink (Baseline)                     Population-2: Melt Seal (Process-1 /Tool ing-1)
                                                                                                                                                                                                                Tooli ng-1)                                                       Tooling-2)                     (Process-3/ Tool ing-2)
                                                                          2016              2017                                               2012
                     20..     2017                  2019           N      L                                                     t                                                           2017                                           2018                      201 -
                                                                                                                                                                                                                                                                         ,-              2018                                     2018
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                      Key Takeaways:
                      • MCF-1 7-066 /EDF 1017 latest change on Population 5 (Process-3, long seal)
                      •     Implemented on all Xi Bipolar products
                      • Sub population Monitoring of Xi is in progress, Si Bipolar implementation completed

                     a
                  INTUITIVE                                                                                                       Note: Green font represents changes since previous QRB                                                                                                                           QRB-201 8-Q4-DATA
                                                                                                                                                                                                                                                                                                                                                            32




Highly Confidential-AEO                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                                           ntuitive-00967541
                                                                                                                                                        Case 3:21-cv-03496-AMO Document 228-42 Filed 05/17/24 Page 33 of 33




                                             Instrument Engagement
                                                                        EDF 66990 Complaint Rate from 1/1/2016


                                                                                 System Model: cia Vinci Xi, da Vinci X




                                    0.20%                                                                                                            0.19%
                                                                                                                                                                                                         Engagement failure defined as:
                                                                                                                                                                              0.18%    Data Description:
                                    0.15% 0.13%
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                                                                                                                                    0    .
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                                                                                                                                         1 4%
                                                                                  0.13%     0.12%                                                                                      •     complainvRM.A data is from 2016. Complaint 1= No
                                                                                                                                                                                       and Syszenrname like 's1i4' or &ynemnRlne like
                                                                                                                                                                                       and (PhoneNote like '3A22020%' or FhoneNote like '%enga%%' er PhQueNctes like '%1cile%adapt%'
                                                                                                                                                                                       or PhoneNotes like '%rednp%' or PheneNctes lilze '%re-drap%' or EnorCede like '%22020%') and PhoneNote nct like % 2E2 %'
                                                                                                                                                                                       and (Z2 Mazeflalnarne in milL or Z2 MateridName like
                                                                                                                                                                                       and ((Customersyrnptom like' '%rnanipulator°S and SymptomDetail like '%yellow%') or SymptornDetail like '%engage%'}

                                                                                                                                                                  336

                                      300                                                                                                                                               Rate of Escalation                    =   0.4%
                                                                                                                                                        246

                                                                                                                                                                                        Quarterly rate is currently below rate of escalation,
              ComplaintC cunt




                                      200
                                                                                                                                               170

                                                                                                                                                                                        continue to monitor per EDF 66990 criteria.
                                      100                                           81        90                            83
                                                                                                                   78
                                                                          68                             65
                                                                                           ________




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                                              43        4•8      43                                                                                                          38



                                                                                                                                                                154,0'38
                                    150K
                                                                                                                                                      130,132
                                                                                                                                         122,033
                XLX_ProcedureCoun




                                                                                                                          104 757
                                    lOOK                                                                         94,882

                                                                                                       77.662
                                                                                            72,283
                                                                                  63,336
                                                                        65,753
                                     50K              40,894   45,649
                                            33,051
                                                                                                                                                                           21,521

                                      OK
                                            2016 Q1   201602   201603   201604   201701    201702     201703    201704    201301         201802       201803    201804     201901




                                            INTUITIVE                                                                                Note: Green font represents changes since previous QRB                                                                                 QRB-201 8-Q4-DATA
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Highly Confidential-AEO                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                                  ntuitive-00967542
